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               UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Criminal No. 06-cr-079-03-PB

Keith Samson



                 ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on July 13,

2006, for the purpose of determining whether to detain defendant,

Keith Samson, who has been indicted on one count of possessing

two 12 gauge shotguns with obliterated serial numbers.

     Under 18 U.S.C. § 3142(f)(2)(a), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight.    In circumstances when detention is not

mandated by the court, the court is nonetheless empowered to

impose conditions on release.     18 U.S.C. § 3142(c).

     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall

consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including
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family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).     For its part, the government is

required to offer a preponderance of the evidence to prove risk

of flight.   See Patriarca, 948 F.2d at 792-93.

     In the case at hand, the indictment itself constitutes

probable cause to believe that the offense charged has been

committed and that the defendant has committed it.

     Here, I find that the government has met its burden with

regard to risk of flight.     Specifically, while the charge is a

possession one it involves two shotguns defendant knew would be

used by his “Dominion” gang buddies to commit a robbery.             He has

unstable family ties, was homeless, only recently employed and



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has three “AWOL” absences from YDC and one escape.

     Upon full consideration of the arguments offered by the

government and defense, I am satisfied that the defendant poses a

risk of flight.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.    The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                On

order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

     SO ORDERED.

                                 ______________________________
                                 James R. Muirhead
                                 United States Magistrate Judge


Date: July 14, 2006

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